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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK
                           WHITE PLAINS DIVISION

----------------------------------------------------------- X
                                                            :
JENNIFER RAND, individually and on behalf of :
a class similarly situated,                                 :
                                                            :
                                     Plaintiff,             :
                                                            : No. 7:21-cv-10744-VB
                           v.                               :
                                                            :
THE TRAVELERS INDEMNITY COMPANY, :
                                                            :
                                    Defendant.              :
----------------------------------------------------------- X

                 [PROPOSED] STIPULATED ESI PROTOCOL ORDER

1.      INTRODUCTION

        a.     Purpose. This Stipulated Order (“Order”) Regarding Production Of

Electronically Stored Information And Paper Documents (“ESI Protocol Order”) shall

govern the production of documents in the above-captioned case (the “Action”) by the

Parties and any third parties.

        Nothing in this Order shall be construed to affect the admissibility of

discoverable information. Pursuant to the terms of this Order, information regarding

search process and electronically-stored information (“ESI”) practices may be disclosed,

but compliance with this Order does not constitute a waiver, by any Party, of any

objection to the production of particular ESI as irrelevant, undiscoverable, unduly

burdensome or not reasonably accessible, or privileged, nor does it constitute a waiver

of any right to discovery by any Party. For the avoidance of doubt, a Party’s compliance



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with this Order will not be interpreted to require disclosure of information potentially

protected by the attorney-client privilege, the work product doctrine, or any other

applicable privilege, protection, or immunity from disclosure.          This Order is a

supplement to the Federal Rules of Civil Procedure, the Local Rules of the Southern

District of New York, Judge Briccetti’s Individual Practice Procedures, and any other

applicable orders and rules. This Order is subject to amendment or supplementation by

mutual agreement of the Parties.

        b.     Authenticity and Admissibility. Nothing in this Order shall be construed

to affect the authenticity or admissibility of any document or data. All objections to the

authenticity or admissibility of any document or data are preserved and may be asserted

at any time.

2.      SCOPE OF PRESERVATION AND PRODUCTION OF ESI

        a.     The Parties agree to take the considerations addressed in Fed. R. Civ. P.

26(b) into account for purposes of production of discovery in this matter.

        b.     The Parties agree that they will engage in ongoing discussions regarding

the appropriate scope of discovery of ESI and possible options for ensuring an efficient

discovery process, such as the possible use of search terms or technology assisted review

(“TAR”), relevant date ranges, possible custodians and data sources that may have

potentially responsive information, any obstacles to accessing and producing ESI,

information demonstrative of adequate quality controls, and the timing of productions.

        c.     To the extent a Party or third party intends to use search terms, TAR, or an

alternative search methodology to identify potentially responsive documents or information



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for review and production, they will meet and confer with the Party requesting documents

or information prior to the application of any such search methodology to discuss: (1) the

methodology being proposed, (2) the search terms or other criteria being used to identify or

exclude documents for review, and (3) any proposed means for validating the proposed

search methodology’s results (e.g., deduplicated and unique document hit counts, document

population size, TAR model parameters). If the Parties are unable to agree on the proposed

search methodology, they may raise any dispute with the Court for resolution.

        d.     If zip files or any encrypted containers (e.g., password protected zip files or

PDFs) are identified in the collection process, the producing Party will use reasonable

means to expand those files prior to any search methodology being applied so their

contents can be indexed and searched.

3.      PRODUCTION FORMATS

        a.     Technical Specifications. The Parties agree that attending to issues

relating to form of production at the outset facilitates the efficient and cost-effective

conduct of discovery. Appendix A sets forth technical specifications that the Parties

propose to govern the form of production of ESI in this litigation, absent other agreement

by the Parties. Among other things, the proposed technical specifications incorporate the

directive of Fed. R. Civ. P. 34(b)(2)(E)(iii) and provide that a Party need not produce

ESI in more than one form, unless otherwise agreed to in limited circumstances (as

contemplated in the technical specifications). The Parties agree to produce documents in

TIFF, native, or other appropriate formats as set forth in Appendix A. For good cause, a

requesting Party may request the production of documents in a format other than as




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specified in this Protocol. The Parties shall thereafter meet and confer and the producing

Party shall not unreasonably deny such requests. The Parties agree not to degrade the

searchability of documents as part of the document production process.

       b.      Deduplication. The Parties agree that documents may be deduplicated

globally at the family-group level (based on MD5 or SHA-1 hash values at the parent

level) provided that the producing Party identifies the additional custodians in the “All

Custodians” metadata field as particularized in Appendix A. To the extent that

deduplication is utilized, the Parties expressly agree that a document produced from one

custodian’s file but not produced from another custodian’s file as a result of

deduplication will nonetheless be deemed as if produced from that other custodian’s file

for purposes of deposition, interrogatory, request to admit and/or trial testimony.

       c.      Email Threading.       The Parties agree that email thread analysis may

be used to reduce the volume of emails reviewed and produced, with the exception that

to the extent a Party choses to use TAR as part of its search methodology, email threading

may not be enabled during the training process. As used in this Protocol, email thread

analysis means producing the most inclusive email in a conversation thread, as well as

all attachments within the threads, and excluding emails constituting duplicate emails

within the produced conversation threads. The producing Parties need only produce the

most inclusive email threads and all attachments within the threads.

       d.      Searchable Format. The Parties share a desire to ensure that ESI is

produced in an acceptable, searchable format. To that end, the Parties have discussed but

have not yet identified potentially relevant ESI that would not be amenable to the



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proposed technical specifications. The Parties agree to meet and confer in good faith to

address any issues that may arise in this regard, and to seek judicial intervention only if

their efforts to resolve the issues on an informal basis are unsuccessful.

        e.        Unitization. All ESI and paper copy documents shall be unitized so as to

specify the beginning and ending pages of each document. Unless kept in the ordinary

course of maintaining documents as aggregated files, distinct documents should not be

merged into a single record, and single documents should not be split into multiple

records (i.e., paper documents should be logically unitized).

        f.        Encryption. To maximize the security of information in transit, any

media on which documents are produced must be encrypted by the producing Party. In

such cases, the producing Party shall transmit the encryption key or password to the

requesting Party, under separate cover, contemporaneously with sending the encrypted

media or the link to the file transfer site.

        g.        Zero-Byte Files. The Parties may filter out stand-alone files identified as

zero-bytes in size that do not contain responsive file links or file names. If the requesting

Party in good faith believes that a zero-byte file was withheld from production and

contains information responsive to a request for production, the requesting Party may

request that the producing Party produce the zero-byte file. The requesting Party may

provide a Bates number to the producing Party of any document that suggests a zero-

byte file was withheld from production and contains information responsive to a request

for production.




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        h.     Embedded Objects. Substantive embedded objects or files (e.g., Excel

spreadsheets, Word documents, audio and video files, etc.), shall be extracted, searched

and produced consistent with other ESI. The Parties agree that other non-substantive

embedded objects or file, including, but not limited to, logos, icons, emoticons, footers,

email in-line images, may be culled from a document set and need not be produced as

separate documents by a producing Party (e.g., such embedded objects will be produced

within the document itself, rather than as separate attachments).

        i.     Collaboration Platforms and Document Links: In addition to email, ESI may

exist in chat/collaboration platforms (e.g., Microsoft Teams, Slack, Zoom) or document

management systems (e.g., Google Docs) for which the traditional parent-child model (e.g.,

as commonly represented by and email and its attachments) may not apply. The Parties will

meet and confer about the search and collection of documents, messages, and other

information included in these platforms, including the production of documents linked to in

messages or emails, or inline attachments (i.e., documents shared within a chat).

4.      CONFIDENTIALITY, PRIVACY, AND SECURITY OF
        INFORMATION

        a.     The Stipulated Confidentiality and Protective Order, entered March 31,

2023 (ECF No. 51), will govern the treatment of information warranting confidential

treatment. Nothing contained herein shall contradict the Parties’ rights and obligations

with respect to the Stipulated Confidentiality and Protective Order.

        b.     Privilege.   Except as provided otherwise below, for any document

withheld in its entirety or produced but redacted, the producing Party will produce

privilege/redaction logs on a rolling basis within forty-five (45) days after the date of a


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production from which the document would otherwise have been produced but was

withheld. The Parties will indicate at the time of production whether a privilege log is

required for that production. The privilege log will identify: (a) a description of the

documents or electronically stored information withheld, including the document date,

author, recipients, and bates number if applicable; and (b) a clear statement of which

privileges the responding party believes cover those documents and why. The Parties

agree to meet and confer on a rolling basis regarding privileged material. The following

are presumptively privileged and shall not be logged: (1) communications between

Travelers and its outside counsel following the December 10, 2021 announcement of the

data incident giving rise to this Action; and (2) work product created by counsel after

the December 10, 2021 announcement of the data incident giving rise to this Action.

Nothing in this Paragraph is intended to preclude negotiation of additional exclusions to

reduce the burdens of privilege logging.

        c.     502(d) Privilege Protection. See the Stipulated Confidentiality and

Protective Order, entered March 31, 2023 (ECF No. 51), which provides Federal Rule

of Evidence 502(d) protection and is expressly incorporated herein.

5.      MODIFICATION

        This Stipulated Order may be modified by a stipulated order of the Parties or by

the Court for good cause shown.

PREPARED AND STIPULATED TO BY:

 Counsel for Plaintiff                          Counsel for Defendant

 s/ T.J. McKenna                                s/ Christopher J. Borchert
 T.J. McKenna                                   Christopher J Borchert


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Dated: June 14, 2023


SO ORDERED.

Dated: _______________, 2023


                                         HON. VINCENT L. BRICCETTI
                                         UNITED STATES DISTRICT JUDGE




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                                    APPENDIX A

                      Technical Specifications for Production

1.      PRODUCTION OF DOCUMENTS ORIGINATING AS PAPER

For documents that have originated in paper format, the following specifications should
be used for their production.

        •     Images should be produced as single page TIFF group IV format imaged
              at 300dpi.

        •     The flat delimited text files shall contain data fields for the custodian of
              the information, where available. This information should include any
              physical location information, such as labels from redwells, boxes,
              (sub)folders, etc. Documents shall be scanned sequentially in the order
              in which the files were kept with logical document breaks maintained.

        •     Each filename must be unique and match the Bates number of the page.
              The filename should not contain any blank spaces and should be zero
              padded (for example ABC00000001).

              Where the original of a produced document is in color, and color is
              material to the interpretation of the document, the receiving party may
              request that the document be produced in color (whether electronic or
              paper). Otherwise, production will be in 300 dpi resolution, single-page
              black and white CCITT Group IV Tagged Image File Format.

        •     Media may be delivered on External USB hard drives or via a secure file
              transfer site. Each media volume should have its own unique name and a
              consistent naming convention (for example ZZZ001 or SMITH001).

        •     Each delivery should be accompanied by an image cross reference file
              (.OPT) that contains document breaks.

        •     A delimited text file (.DAT) that contains the following fields:

                  ▪   Production Bates Begin
                  ▪   Production Bates End
                  ▪   Production Bates Begin Attachment
                  ▪   Production Bates End Attachment
                  ▪   Production Image Count
                  ▪   Custodian
                  ▪   Privileged



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                    ▪     Confidentiality
                    ▪     Redacted

The delimiters for that file should be:

                          Field Separator, ASCII character 020: “¶”

                          Quote Character, ASCII character 254 “þ”

                          Multi-Entry Delimiter, ASCII character 059: “;”

         •       OCR text should also be delivered for each redacted document or
                 documents without extracted text. OCR text should be delivered on a
                 document level in an appropriately formatted text file (.txt) that is named
                 to match the first bates number of the document.

         •       A text cross reference load file should also be included with the
                 production delivery that lists the beginning bates number of the document
                 and the relative path to the text file for that document on the production
                 media.

2.       PRODUCTION OF EMAIL AND ELECTRONIC DOCUMENTS

Attachments, enclosures, and/or exhibits to any parent documents should also be
produced and proximately linked to the respective parent documents containing the
attachments, enclosures, and/or exhibits.

All documents (except those designated to be produced in native below) should be
produced as single-page, Group IV, 300 DPI TIFF (black & white) images using the
same specifications above with the following exceptions:

         •       Provide a delimited text file (using the delimiters detailed above)
                 containing the following fields where they exist in the file being
                 produced. Nothing shall require the production of metadata that does not
                 exist or would be unduly burdensome to collect.

             Field Name            Field Description
 Production Bates Begin            Beginning bates number of the record.
 Production Bates End              Last bates number of the record.
 Production Bates Begin            Beginning bates number for the parent/child package.
 Attachment




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Production Bates End      Ending bates number for the parent/child package.
Attachment
Custodian                 Name of person the document was collected from.
All Custodians            Name(s) of All Custodians associated with the record including
                          where documents have been removed as a duplicate.
Email From                Email sender.
Email To                  Main recipient(s) of the e‐mail message, by email address.
Email CC                  Recipient(s) of "Carbon Copies of the e‐mail message.
Email BCC                 Recipient(s) of "Blind Carbon Copies" of the e‐mail message.
Email Subject             Subject of the e‐mail message.
Unified Title             The extracted document title of a document.
Sent Date/Time            Date & Time the email was sent. Formatted as: mm/dd/yyyy
                          hh:mm:ss
Received Date/Time        Date & Time the email was received. Formatted as:
                          mm/dd/yyyy hh:mm:ss
Created Date/Time         Date & Time the record was created. Formatted as:
                          mm/dd/yyyy hh:mm:ss
Last Modified Date/Time   Date & Time the record was last modified. Formatted as:
                          mm/dd/yyyy hh:mm:ss
Sort Date/Time            Date & Time taken from (Email) Date/Time Sent, (Email)
                          Date/Time Rcvd, or (EDocs) Date/Time Last Modified,
                          repeated for parent document and all children items to allow for
                          date sorting. Formatted as: mm/dd/yyyy hh:mm:ss
File Extension            File extension of native file.
File Name                 Original filename of native file. Contains subject of e‐mail
                          message for e‐mail records.
Text Path                 Path and filename to extracted text OR OCR Text for imaged
                          or redacted documents.
Native File Link          File path/folder structure of original native file.
MD5 Hash                  MD5 Hash algorithm to uniquely identify file.
Number of Attachments     Number of attachments for the record.


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File Type                      The file type of a document (e.g., MS Excel Spreadsheet).
Author                         Author field from metadata of a native file.
File Size                      Size of the file in bytes.
Production Image Count         The number of pages for a document.
Record Type                    The record type of a document. E-Mail Attachment, or E-Doc
Privileged                     Field indicating the Privilege treatment of the document.
Confidentiality                Field indicating the Confidential treatment of the document.
Redacted                       “Yes” should be populated if document contains redaction.
                               (Yes/No format)
Time Zone                      Reference to reflect time zone data was processed in from
                               default field.

      •       Extracted full text (not OCR text) should also be delivered for each non-
              redacted electronic document. The extracted full text should be delivered
              on a document level according to the specifications above similar to paper
              documents.

      •       Foreign language text files and metadata should be delivered with the
              correct encoding to enable the preservation of the documents’ original
              language.

      •       Non-privileged (or redacted native) spreadsheets, CAD drawings, and
              any other non-privileged file containing responsive information that
              cannot be accurately rendered to TIFF will be produced in native. Native
              files will be named after their bates number and a bates-stamped single
              placeholder TIFF saying “Document Produced in Native Format” that
              also indicates the confidentiality treatment of the record being produced
              for each native record.

      •       The Parties agreed they may use an industry standard native redaction
              tool for native redactions.

      •       Non-privileged media and audio-visual files (including but not limited to
              photos, videos and audio files) will be produced as native files showing
              comments, hidden texts and comments, and similar available data,
              excluding near zero image files and such images in signature blocks. A
              UNC file path must be included in the ESI load file and the natives must
              be produced as described above.


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3.       PRODUCTION OF DATABASES AND OTHER STRUCTURED DATA

If a database or other source of structured data contains responsive information, the
Parties agree to meet and confer about the scope of available information in the relevant
database(s) or system(s) and to export the responsive data for production in a reasonably
usable format available from that source in the ordinary course of business (e.g., PDF
reports, Excel files or as comma separated value (.csv) text files). The receiving Party
may make reasonable requests for additional information to explain the database
scheme, codes, and/or abbreviations or to request the data in an alternative format. In
the event of such a request, the Parties will meet and confer regarding the most
reasonable means to provide the information requested and to determine whether such
information is proportionate to the needs of the case.

4.       FORENSIC IMAGES AND SYSTEM INFORMATION

Information collected from computer systems as part of a forensic investigation (e.g.,
machine images, log files) shall be produced in full and in the format in which they were
collected.




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